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                         EXHIBITB
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                                                                   December 18, 2015


  Catherine Farmer, Psy.D.
  Manager, Disability Services
  National Board of Medical Examiners
  3750 Market Street
  Philadelphia, PA 19104

   Dear Dr. Fanner:

        I am writing in regard to the materials submitted by Bryan Messenger (USMLE 0-943-207-1),

   who has requested accommodations for the USMLE Step 2 CK exam. In his application, he indicated

   that he has been diagnosed with a Reading Disorder. However, his most recent evaluation indicated

  that he has also been diagnosed with a Disorder of Written Expression. In support of his request, Bryan

   submitted the following materials: 1) a personal statement (undated); 2) unofficial transcripts from

   Utah Valley University and the University of Utah; 3) a copy ofMCAT scores (2007-2010); 4) a

  psychoeducational evaluation completed on 12/23/11 by Dr. Edward Martinelli; 5) an evaluation

  completed on 11/2/l5 at the Dyslexia Center of Princeton by Dr. Lisa Kestler; 6) a USMLE fonn

  which indicates that he has received accommodations in medical school since 2/10/12; and 7) a letter

  written by Dr. C. V. Rao dated 4/8/14.



       Based on my review of the documentation submitted by Bryan, it is my opinion that the available

  evidence does not support the diagnoses of Reading Disorder or Disorder of Written Expression. The

  available evidence shows that he is able to learn and achieve at a level commensurate with his same

  age peers in the general population. The following analysis is offered in support of my opinion.



       First, there is no objective documentation that Bryan has a longstanding history of learning

  difficulties during his school age years or that he has achieved below others of his same age in the
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   general population. In his personal statement, Bryan self-reported that he did not learn to read until

   second grade. He also self-reported that he "covered up" his reading problems by "helping others

   complete their homework." However, this self-report is contradictory: If he did not learn to read (or

   read well), how did he help others with their homework? Bryan self-reported that he was placed in

   "remedial English classes," but there is no objective documentation to support his assertion. Likewise,

   he self-reported to Dr. Martinelli that he attended "resource classes" for reading problems in grades 2-

   10, but there is no objective documentation to verify his self-reports. In any case, placement in

   remedial English classes and in unspecified "resource classes" is not evidence of a learning (reading)

   disability. Bryan did not submit his elementary, middle, or high school records nor did he submit ACT

   or SAT scores. However, his college transcript revealed that he achieved mostly grades of A and B

   with an occasional C grade, and graduated with a cumulative GPA of 3.2. On the MCAT, which was

   administered on four occasions, Bryan achieved in the average range on all sections with the exception

   of Writing. His MCAT Total Score was in the average range each time (43rd_55th percentile). Bryan

   also passed the USMLE Step I and the USMLE Step 2 CS exams. He self-reported that he "scored

   well" on the latter exam. Bryan self-reported that it takes him more time to complete SHELF exams in

   medical school, but did not indicate that he failed (or even had difficulty with) these exams. All of the

   aforementioned accomplishments were attained without the benefit of accommodations. The objective

   documentation belies the notion that Bryan exhibited substantial difficulties with reading and writing

   prior to the diagnosis of disability or that his reading and writing skills are substantially below those of

   his same age peers in the general population.



        Second, the available documentation contains no objective evidence that Bryan was diagnosed as

   having a learning (reading and writing) disability during his elementary and middle school education,

   or during his secondary and undergraduate education. Instead, the available evidence suggests that he
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   achieved at a level similar to his same age peers in the general population prior to the diagnosis of

   disability. A disability for learning is typically identified in elementary school, i.e., it is a

   developmental disability that emerges during childhood. Even if a student is not formally diagnosed,

   he should present objective evidence showing that he had severe problems early in school and then

   throughout his school career. Although Bryan self-reported that he reads more slowly than others, there

   is no objective evidence in the documentation which shows that he has exhibited impairments in

   reading and writing when compared to his same age peers in the general population prior to being

   diagnosed with a disability when he was 30 years old.



        Third, in his 2011 evaluation completed when Bryan was 30 years old, Dr. Martinelli based his

   diagnosis of disability, at least in part, on aptitude-achievement discrepancies. However, it has been

   well-known for many years that the diagnosis of learning (reading) disability based on aptitude-

   achievement discrepancy is invalid. He also erred in reporting graded-based norms (16.0, 4-year

   university) for the WJ-III and using these norms, at least in part, for the diagnosis of disability. Dr.

   Martinelli mentioned that the diagnosis of learning disability can be made through the use of the

   "average person model" but he showed that misunderstood the model by writing, " .... average person

   model where average or higher cognitive abilities are compared to achievement scores which must fall

   below the average person ... " Here, he uses the aptitude-achievement discrepancy model. But, the

   average person model should be used with no reference to cognitive abilities or aptitude. Dr. Martinelli

   should have used the WJ-111 scores calculated with age-based norms that he included in his report.

   These scores showed that Bryan achieved in the average range when compared to his same age peers

   on the Broad Reading (SS= 94) and Basic Reading         (SS'~   91) Clusters and all WJ-III reading subtests,

   i.e., Letter-Word Identification (SS= 93), Reading Fluency (SS= 86), Passage Comprehension (SS=

   105), Word Attack (SS= 87), Phoneme/Grapheme Knowledge (SS =91). While Bryan's reading skills
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   on the WJ-III were not strong, his scores are, as Dr. Martinelli indicated, in the average to low average,

   not below average, range when compared to his same age peers in the general population.



        Fourth, there are multiple problems with the evaluation completed in 2015 by Dr. Kestler. The

   problems included in the report include the following issues:

        •   In her report, Dr. Kestler based the diagnosis of disability, at least in part, on comparisons to

            college graduates and individuals who have completed medical school, i.e., "Given Bryan's

            real world academic achievement as a college graduate who has successfully completed all

            coursework in medical school, these test results demonstrate a disconnect between what Bryan

            can show on tests and what he can demonstrate through more meaningful ways" (p. 16). But,

            she ignored his past history of strong undergraduate work without accommodations, average

            performance on the MCAT without accommodations, and successful performance on Step I

            and Step 2 CS wilhout accommodations. Surely, his accomplishments on the timed,

            standardized formats of the MCAT and Steps 1 and 2CS demonstrate "meaningful

            performance."

        •   Dr. Kestler based the diagnosis of reading disability on a number of qualitative judgments. For

            example, she used the terms "dyseidetic" and "dysphonetic" to describe dyslexia. Although

            she defined the terms (p. 2), she did not explain the criteria by which one can be classified

            with these "types" of dyslexia. (For the record, I have not heard these terms used to describe

            dyslexia in over 20 years.)

       o    Dr. Kestler also diagnosed Bryan with "moderate to severe" dyseidetic and "mild to moderate"

            dysphonetic dyslexia. However, the terms mild, moderate, and severe were left unexplained

            and were not accompanied by specific criteria.
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       •   Dr. Kestler administered two standardized testing measures, the CTOPP and the GORT-5, that

           are not normed for individuals who are 33 years old, and then used these tests to make a

           diagnosis of disability. She compounded her error by reporting only grade equivalent scores

           for these measures. These tests cannot be used for diagnostic purposes.

       •   Dr. Kestler based her diagnosis of Reading Disorder, at least in part, on aptitude-aptitude

           discrepancies. In her report, she identified a "meaningful discrepancy" between Bryan's

           WAIS-IV Perceptual Reasoning Index score (97 1h percentile) and his score on the VMI (581h

           percentile). She also indicated that Bryan has relatively weak skills in visual perception and

           based this judgment on his "relatively lower score on the WAIS-IV Processing Speed Index

           (PSI= 100, 50 111 percentile) ... " (p. 9). However, Bryan's score on both the Processing Speed

           Index and the VMI were solidly in the average range. In addition, it has been well-known for

           many years that aptitude-aptitude discrepancies are both normal and expected.

       •   Dr. Kestler based her diagnosis of Reading Disorder, at least in part, on " ... visual perceptual

           difficulties contributing to dyslexia... " (p. 17) and recommended "magnification, highlighting,

           answer masking and/or a line reader" as well as "test items presented [are] aurally ... " (p. 17).

           However, converging evidence in reading research over the last 30 years has shown that visual

           "impairments" of this type neither explain nor account for the severity of reading problems.

           Researchers have found no evidence to link "visual perceptual" difficulties to difficulties in

           learning to read or to ongoing reading problems.

   Given the aforementioned problems with the report, the only objective evidence related to reading in

   Dr. Kestler's report is the WIAT-III scores. Although Bryan's scores are not strong, he achieved in the

   low average range on the Total Reading (SS   0
                                                    = 87)   and Basic Reading (SS= 90) Composites and in the

   average range on the Word Reading (SS= 94), Pseudoword Decoding (SS= 89), and Reading

   Comprehension (SS= 102) subtests. On the WIAT-III, Bryan achieved in the below average range on
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  one subtest. However, a diagnosis of disability cannot be made by selecting one low subtest score,

  especially when scores on other measures of the same skill (reading) are in the average range.



       Fifth, Dr. Kestler based her diagnosis of Disorder of Written Expression on " ... poor spelling,

  sentence composition, and grammar and mechanics in composing essays ... " (p. 16). However, Bryan's

  scores on all standardized written language measures were in the average to above average range on

  the WIAT-111 Written Expression Composite (SS= 103) and all writing subtests, i.e., Sentence

  Composition (SS= 95), Essay Composition (SS= 124), Spelling (SS= 89), Essay Composition:

  Grammar and Mechanics (SS= 96).



       Sixth, when making their disability diagnoses, both Dr. Martinelli and Dr. Kestler ignored Bryan's

  long history of success on timed, standardized exams and his average, or better, performance in several

  academic settings. Specifically, they failed to acknowledge that Bryan was successful in the following

  settings and on timed, standardized exams without accommodations when he was compared to his

  same age peers and to select populations:

       •   Elementary school

       •   Middle school

       o   Secondary school

       •   Undergraduate education

       o   MCATexam

       o   USMLE Step 1 exam

       o   USMLE Step 2 CS exam

   As I stated earlier in my review, the aforementioned accomplishments belie the notion that Bryan has

   exhibited substantial difficulties with reading (or writing) prior to the diagnosis of disability or that his
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   reading and writing skills are substantially below his same age peers in the general population.

   Likewise, the test results in reading and writing reported by Dr. Martinelli and Dr. Kestler are

   inconsistent with the reading and writing skills of an individual who has done well in school at all

   levels of education and on timed, standardized exams.



      Seventh, the available documentation does not provide objective evidence that Bryan meets the

   criteria for Reading Disorder or Disorder of Written Expression because he does not meet the DSM-5

   criteria for this disorder. There is no objective evidence that he has exhibited difficulties learning and

   using academic skills for any length of time (Criterion A). Likewise, there is no objective evidence

   that his academic skills are substantially and quantifiably below those expected for his chronological

   age, that poor academic skills cause significant interference with academic performance or activities

   of daily living, or that he has a documented history of impairing learning difficulties (Criterion B). In

   addition, there is no objective evidence that he exhibited learning problems in his school-age years, or

   undergraduate education (Criterion C). Instead, the findings demonstrate that his reading and written

   language skills are largely commensurate with, or above, his same age peers in the general population.



       Overall, the objective evidence shows that Bryan has the ability to achieve at an average level

  academically when he is compared to a representative sample of his same age peers in the general

  population. The objective documentation shows that he does not exhibit impairments in reading or

  writing. Bryan displays a long history of success on timed, standard exams and average, or better,

  performance in multiple academic settings. Thus it is my conclusion that the request for

  accommodations should be denied.

                                                        Sincerely,

                                                        Richard L. Sparks, Ed.D.
